     Case 2:21-cv-07077-FMO-PVC Document 9 Filed 03/07/22 Page 1 of 2 Page ID #:27



1    TRACY L. WILKISON
     United States Attorney
2    SCOTT M. GARRINGER
     Assistant United States Attorney
3    Chief, Criminal Division
     JONATHAN GALATZAN
4    Assistant United States Attorney
     Chief, Asset Forfeiture Section
5    VICTOR A. RODGERS (Cal. Bar No. 101281)
     MAXWELL COLL (Cal. Bar No. 312651)
6    Assistant United States Attorney
     Asset Forfeiture Section
7         Federal Courthouse, 14th Floor
          312 North Spring Street
8         Los Angeles, California 90012
          Telephone: (213) 894-2569/1785
9         Facsimile: (213) 894-0141
          E-mail: Victor.Rodgers@usdoj.gov
10                Maxwell.Coll@usdoj.gov

11   Attorneys for Plaintiff
     UNITED STATES OF AMERICA
12
                              UNITED STATES DISTRICT COURT
13
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
                                    WESTERN DIVISION
15
     UNITED STATES OF AMERICA,                Case No. 2:21-cv-07077-FMO(PVCx)
16
                Plaintiff,
17                                            NOTICE OF VOLUNTARY DISMISSAL
                      v.
18
     $462,880.00 IN U.S. CURRENCY IN
19   U.S. CURRENCY AND MISCELLANEOUS
     JEWLERY,
20
                Defendants.
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     Case 2:21-cv-07077-FMO-PVC Document 9 Filed 03/07/22 Page 2 of 2 Page ID #:28



1          NOTICE is hereby given that, pursuant to Fed. R. Civ. P.

2    41(a)(1)(A), plaintiff United States of America voluntarily dismisses

3    the above-captioned action.

4    Dated: March 7, 2022               TRACY L. WILKISON
                                        United States Attorney
5                                       SCOTT M. GARRANGER
                                        Assistant United States Attorney
6                                       Chief, Criminal Division
                                        JONATHAN GALATZAN
7                                       Assistant United States Attorney
                                        Chief, Asset Forfeiture Seztion
8

9                                       _______/s/___________________
                                        VICTOR A. RODGERS
10                                      MAXWELL COLL
                                        Assistant United States Attorneys
11                                      Asset Forfeiture Section

12                                      Attorneys for Plaintiff
                                        UNITED STATES OF AMERICA
13

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